Case 18-09243-JJG-11          Doc 107      Filed 01/08/19      EOD 01/08/19 08:59:46          Pg 1 of 3



                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

IN RE:                              )
                                    )
SCOTTY’S HOLDINGS,                  )                           Case No. 18-09243-JJG-11
                                    )                           (Jointly Administered)
            Debtor(s).1             )
____________________________________)

           NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

        Steven M. Lutz, of the law firm of Church Church Hittle + Antrim, enters

this Appearance on behalf of Butler University, a creditor in this case (the

“Creditor”), pursuant to Fed. R. Bankr. P. 9010 and requests that all pled matters

be directed to his attention using the contact information provided herein below.

                                Steven M. Lutz
                                Church Church Hittle + Antrim
                                Two North Ninth Street
                                Noblesville, IN 46060
                                Telephone: 317.773.2190
                                Facsimile: 317.773.5320
                                Email:        lutz@cchalaw.com

        Neither this Notice of Appearance and Request for Service, nor later

appearance, pleading, claim or suit, or other writing, or conduct shall constitute a

waiver of: (i) the Creditor’s right to have final orders in noncore matters entered

only after de novo review by a District Judge; (ii) the Creditor’s right to trial by jury


1
  The Debtors include Scotty’s Holdings, LLC, Case No. 18-09243-JJG-11 (the “Lead Case”); A Pots & Pans
Production, LLC, Case No. 18-09244-JJG-11; Scotty’s Thr3e Wise Men Brewing Company, LLC, Case No. 18-
09245-JJG-11; Scotty’s Brewhouse, LLC, Case No. 18-09246-JJG-11; Scotty’s Brewhouse Bloomington, LLC,
Case No. 18-09248-JJG-11; Scotty’s Brewhouse West Lafayette, LLC, Case No. 18-09250-JJG-11; Scotty’s
Indianapolis, LLC, Case No. 18-09251-JJG-11; Scotty’s Brewhouse Downtown Indianapolis, Case No. 18-09252-
JJG-11; Scotty’s Brewhouse Mishawaka, LLC, Case No. 18-09253- JJG-11; Scotty’s Brewhouse Fort Wayne, LLC,
Case No. 18-09255-JJG-11; Scotty’s Brewhouse Carmel, LLC, Case No. 18- 09256-JJG-11; Scotty’s Brewhouse
Butler, LLC, Case No. 18-09257-JJG-11; and Scotty’s Brewhouse Waco, LLC, Case No. 18- 09258-JJG-11.
Case 18-09243-JJG-11     Doc 107    Filed 01/08/19   EOD 01/08/19 08:59:46     Pg 2 of 3



in any proceedings so triable in this case or any case, controversy or proceeding

related to this case; (iii) the Creditor’s right to have the District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal; or (iv)

any other rights, claims, actions, defenses, setoffs, or recoupments to which the

Creditor is or may be entitled to under agreements, in law, in equity, or otherwise,

all of which are expressly reserved and preserved, without exemption and with no

purpose of confessing or conceding jurisdiction in any way by its filing or by any

other participation in this case.

      Dated: January 8, 2018
                                               Respectfully submitted,

                                               /s/ Steven M. Lutz
                                               Steven M. Lutz
                                               Church Church Hittle + Antrim
                                               Two North Ninth Street
                                               Noblesville, IN 46060
                                               Telephone: 317.773.2190
                                               Facsimile: 317.773.5320
                                               Email:        lutz@cchalaw.com

                                               Attorney for Creditor
                                               Butler University
Case 18-09243-JJG-11     Doc 107   Filed 01/08/19   EOD 01/08/19 08:59:46     Pg 3 of 3



                          CERTIFICATE OF SERVICE

      I hereby certify that on January 8, 2019, a copy of the foregoing Notice of
Appearance and Request for Service was filed electronically. Notice of this filing will
be sent to the following parties through the Court’s Electronic Case Filing System.
Parties may access this filing through the Court’s system.

John Joseph Allman (jallman@hbkfirm.com)
Isaac Gabriel (Isaac.gabriel@quarles.com)
Lucy R. Dollens (lucy.dollens@quarles.com)
Christopher Combest (Christopher.combest@quarles.com)
Jason R. Burke (jburke@bbrlawpc.com)
Christopher Hagenow (chagenow@bbrlawpc.com)
Aaron Davis (aaron.davis@bryancave.com)
Anthony R. Jost (tjost@rbelaw.com)
Harley K. Means (hkm@kgrlaw.com)
Jay P. Kennedy (jpk@kgrlaw.com)
John R. Humphrey (jhumphrey@taftlaw.com; aolave@taftlaw.com)
Deborah J. Caruso (dcaruso@rubin-levin.net)
Meredith R. Theisen (mtheisen@rubin-levin.net)
John M. Mead (jmead@indylegal.net)
Jeffrey A. Hokanson (jeff.hokanson@icemiller.com)
John C. Cannizzaro (john.cannizzaro@icemiller.com)
Amanda K. Quick (Amanda.quick@atg.in.gov)
Frederick D. Hyman (fhyman@mayerbrown.com)
Mary Jean Fassett (mjf@mccarronlaw.com)
Craig Solomon Ganz (ganzc@ballardspahr.com)
Jeffrey M. Hester (jhester@hbkfirm.com)
U.S. Trustee (ustpregion10.in.ecf@usdoj.gov)
Harrison E. Strauss (Harrison.Strauss@usdoj.gov)
Ronald J. Moore (Ronald.Moore@usdoj.gov)

       I further certify that on January 8, 2019, a copy of the foregoing was mailed
by first-class U.S. Mail, postage prepaid, and properly addressed to the following:

      None.

                                              /s/ Steven M. Lutz
                                              Steven M. Lutz
